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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     WENDALL STEWART, et al,                         )       Date: September 2, 2011
13
                                                     )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                              )
                                                     )
15
                                                     )
                                                     )
16

17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Wendell Stewart, Candace A.
20
     Fry, Esq., and counsel for defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the
21
     status conference presently set for July 22, 2011 be continued to September 2, 2011, at 9:00
22
     a.m., thus vacating the presently set status conference.
23
            Further, all of the parties, the United States of America and all of the defendants as stated
24
     above, hereby agree and stipulate that the ends of justice served by the granting of such a
25
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that
26
     time under the Speedy Trial Act should therefore be under meaning of Title 18, United States
27
     Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation,
28
     specifically the continuance is requested to allow more time for defense preparation and possible


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 1   negotiations for resolution) and Local Code T4, and agree to exclude time from the date of the
 2   filing of the order until the date of the status conference, September 2, 2011.
 3   IT IS SO STIPULATED.
 4
     Dated: July 19, 2011                                           /s/ John R. Manning
 5                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
 6                                                                 Ricardo Venegas
 7
     Dated: July 19, 2011                                          /s/ Candace A. Fry
 8                                                                 CANDACE A. FRY
                                                                   Attorney for Defendant
 9                                                                 Wendell Stewart
10
     Dated: July 19, 2011                                           /s/ Edward C. Bell
11                                                                 EDWARD C. BELL
                                                                   Attorney for Defendant
12                                                                 Isauro Jauregui Catalan
13

14   Dated: July 19, 2011                                          Benjamin B. Wagner
                                                                   United States Attorney
15

16                                                         by:     /s/ Jill M. Thomas
                                                                   JILL M. THOMAS
17                                                                 Assistant U.S. Attorney
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              Case 2:06-cr-00441-DAD Document 385 Filed 07/20/11 Page 3 of 3



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 7
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) [PROPOSED] ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     WENDALL STEWART, et al.,                       )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
16
                                                    )
17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the July 22, 2011 status
19

20
     conference be continued to September 2, 2011 at 9:00 a.m. I find that the ends of justice warrant
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
21

22
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT

23
     IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv)

24
     and Local Code T4 from the date of this order to September 2, 2011.

25
     IT IS SO ORDERED.

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27
                                              GARLAND E. BURRELL, JR.
28                                            United States District Judge



                                                     3
